                      IN THE UNITES STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

MARTIN ENRIQUEZ, JR, DANIEL                       §
MARTINEZ, and IRENE GONZALEZ,                     §
Individually and on behalf of MARTIN              §
ENRIQUEZ, SR. (deceased) and                      §
ANGELITA M. ENRIQUES (deceased)                   §

vs.
                                                  §
                                                  §      CivilActionNo. ^ .' / ?'^ G t/          s?
                                                  §      Jury
                                                  §
LASKO PRODUCTS, INC. ; AMERICAN                   §
ELECTRIC POWER SERVICE                            §
CORPORATION; LEGGETTAND PLATT,                    §
INCORPORATED; and CARLOS                          §
HERNANDEZ                                         §

                      DEFENDANT LEGGETT AND PLATT, INC'S
                     NOTICE OF REMOVALTO FEDERALCOURT

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

       LEGGETTAND PLATT, INC., a Defendant in a case styled Martin Enriquez, Jr., et

a/ v. Lasko Products, Inc., etal, originally pending as Cause No. 2017-CCV-60993-4 in the

County Court at Law Number 4 of Nueces County, Texas, files this Notice of Removal of

said cause to the United States District Court for the Southern District of Texas, Corpus

Christ! Division, pursuant to the terms and provisions of 28 U.S.C. §§ 1441(a) and 1446

and would respectfully showthe Court as follows:

I.     TIME LIMITS

       Plaintiffsoriginallyfiled suit in this Court on March 1 1, 2016, against only Defendant

Lasko Products, Inc ("Lasko"). That case was voluntarily dismissed by the Plaintiffs on

May 5, 2016.

       Plaintiffs thereafter filed an original petition in Nueces County on May 24, 2017

against Defendants Lasko, American Electric Power Service Corporation ("AEP"), Leggett
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and Platt, Inc. (L&P") and Carlos Hernandez ("Hernandez"). Plaintiffsdid not seek service

against Defendants Lasko, AEP, or L&P after filing the suit, and they were never served

with copies of that petition or obtained other knowledge of it. Plaintiffs did, however, obtain

service on Defendant Hernandez in July 2017,

       Finally, Plaintiffs filed an amended petition in the Nueces County case on January

2, 2018, one day before the running of the statute of limitations. Despite service being

accomplished on him in July 2017, Defendant Hernandez only filed his pro-se answer to

the original petition on January 22, 2018. Defendant Lasko was not served with the

amended petition until January 24, 2018, Defendant AEP on January 29, 2018 and

Defendant L&Pon January29 as well.

       Thus, this Notice of Removal by L&P is timely filed as thirty (30) days have not

elapsed since the time it first received Citation and a copy of Plaintiffs Amended Petition.

II.    NATURE OF THE CASE

       Plaintiffs' action against L&P (and the other defendants) is one of a civil nature

based upon allegations of product liability and negligence arising out of a fire at the

decedent Plaintiffs' residence. Basically, the claim is that Defendant Hemandez was

involved in a single vehicle accident that caused a power outage in the Plaintiffs' area by

striking an electric utility pole. Plaintiffs have sued Hernandez in negligence for causing

the power outage. AEP restored power to the Plaintiffs' area, and Plaintiffs have sued it

for negligence for such restoration. After power was restored, a fire allegedly started in the

Plaintiffs home. Plaintiffs have sued Lasko for the design/manufacture/marketing of a

heater in the area of the fire, and L&P for the design/manufacture/marketing of an electric




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bed also found there. Defendant L&P (and the other defendants) have denied all and

each ofthese allegations.

       III.    DIVERSITf JURISDICTION

       This Court has original subject matter jurisdiction over this action under 28 U. S. C. A.

§ 1332 because the matter in controversy exceeds the sum of $75, 000, exclusive of

interest and costs, and when those parties who have been improperly joined are removed

from consideration, complete diversity of citizenship exist. Plaintiffs and the properly

joined defendants are citizens of different states. Plaintiffs are all citizens of Texas, as

were the decedents.      Defendant Lasko is a Pennsylvania Corporation whose principal

place of business is in West Chester, Pennsylvania. Defendant AEP is a New York

Corporation whose principal place of business is in Columbus, Ohio. Defendant L&P is a

Missouri Corporation whose principal place of business is in Carthage, Missouri. Thus,

none of the corporate defendants are citizens of Texas, and are totally diverse from all

Plaintiffs and each other.

   The citizenship of the improperly joined defendant, Carlos Hemandez must be

disregarded under 28 U. S.C.A. §§ 1332 and 1441 (b) under Burden vs General Dynamic

Corp., 60 F. 3d 213, 218 (5th Cir. 1995). Removal on a theory of improper joinder is
appropriate where there is no reasonable basis for predicting that a plaintiff can recover

against an improperly joined defendant. Badon v. R. J. R. Nabisco, Inc., 236 F.3d 282,

285-86 (5 Cir. 2000). Moreover, a "mere theoretical possibility of recovery under local

law" will not preclude a finding of improper joinder. See Badon, 224 F. 3d at 386 n.

4; Ross v. Citifinancial, Inc., 344 F. 3d 458 (5th Cir. 2003). As explained more fully

below, removal is proper in this case. 28 U. S. C. A. § 1441 (a).


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       A.     Improper Joinder of Hernandez

   The Fifth Circuit has outlined the two methods available to the district courts in

deciding a motion for remand based on improper joinder: (1) the court may conduct a

Rule 12(b)(6)-type analysis looking initially at the allegations in the complaint to

determine whether the complaint states a claim under state law against the in-state

defendant; or (2) after examining the pleadings, the court may determine it is

appropriate to pierce the pleadings and conduct a summary inquiry. See Smallwood v.

////no/s Cent R. Co., 385 F. 3d 568, 573 (5th Cir. 2004) (en banc}; Travis v. Irby, 326 F. 3d

644, 646-47 (5th Cir. 2003).

       Thus, this court has the discretion to pierce the pleadings and conduct a

summary inquiry in order "to identify the presence of discrete and undisputed facts that

would preclude plaintiff's recovery against the in-state defendant. " Smallwood. at 573-

574; see also B., Inc. v. Miller Brewing Co., 663 F.2d 545, 551 (5th Cir.

1981) (evidentiary hearing appropriate where removing party contends plaintiff's

pleadings contain misrepresentations of jurisdictional fact). As expressed by another

judge in the Southern District:

              [T]he court may 'pierce the pleadings' and consider
              'summary judgment-type' evidence in those cases in which
              the 'plaintiff has stated a claim, but has misstated or omitted
              discrete facts that would determine the propriety ofjoinder.'

See Smith v. Robin America, Inc., 2009 WL 2485589 at *2 (S. D. Tex. (Houston) Aug. 7,

2009); Cavallini v. State Farm Mut. Auto Ins. Co., 44 F. 3d 256, 263 (5th Cir.

1995)(when considering a claim of improper joinder, courts may "pierce the pleadings"

and    consider     "summary      judgment    type    evidence").     In   fact,   a   claim

of fraudulent joinder "is viewed as similar to a motion for summary judgment. " See
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LeJeune v. Shell Oil Co., 950 F. 2d 267, 271 (5th Cir. 1992). The removing party may -

as here - submit evidence outside the pleadings in order to establish that a plaintiff has

no reasonable basis to expect recovery from the resident defendant. Badon v. RJR

Nabisco, Inc., 224 F.3d at 390. Thus, it is proper for this Court to consider outside

evidence in support of the removal motion. B., Inc. v. Miller Brewing Co., 663 F. 2d at

549 (deposition transcripts); Carriere v. Sears, Roebuck & Co., 893 F. 2d 98, 100 (5th

Cir. 1990). Both the Fifth Circuit and various district courts have affirmed that a district

court may consider summary judgment-type evidence to identify "discreet facts" that

would show that a defendant was improperly joined. Anderson v. Georgia Gulf Lake

Charles, LLC, 342 Fed. Appx. 911, 915-916 (5th Cir. 2009); Smith v. Robin America,

Inc., supra at *2, 3.

       Although Plaintiff may eventually contend that the standard for improper joinder

is a heavy one, the standard was not meant to allow plaintiffs' attempts to circumvent

federal jurisdiction. See Smallwood v. Illinois Cent. R. R. Co., 385 F. 3d at 573 ("'the

Federal courts should not sanction devices intended to prevent the removal to a Federal

court where one has that right, and should be equally vigilant to protect the right to

proceed in the Federal court as to permit the state courts, in proper cases, to retain their

own jurisdiction. "'), quoting 14 CHARLES ALAN WRIGHT, FEDERAL PRACTICE AND

PROCEDURE § 3641, at 173 (3d ecf. 1998)); see ateo McKinney v. Board of Md.

Community College, 955 F. 2d 924, 928 (4th Cir. 1992) ("Congress created the removal

process to protect defendants. It did not extend such protection with one hand, and with

the other give plaintiffs a bag of tricks to overcome it. "). In fact, the Fifth Circuit routinely

upholds improper joinder where, like here, a plaintiff's claims against the non-diverse

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defendant are based on nothing more than conclusory allegations. See Badon, 224

F. 3d at 392-93 (conclusory or generic allegations of wrongdoing are not sufficient to

showthat the local defendant was properly joined).
          In any event, Plaintiff here has no "reasonable possibility or basis of recovery"

against Hernandez. See Boyer v. Snap On Tools Corp., 913 F. 2d 108, 111 (3rd

Cr.1990) (stating fraudulent joinder exists when "there is no reasonable basis in fact or

colorable ground supporting the claim against the joined defendant, or no real intention

in good faith to prosecute the action against the defendant or seek a joint

judgment"). As noted above, a "mere theoretical possibility of recovery under local law"

will not preclude a finding of improper joinder. Badon, 236 F. 3d at 286 n. 4. Put simply,

Plaintiff's allegations against Hernandez are conctusory and generic in the first place

and there is no showing that a cause of action can be supported.

          Defendant Hernandez' collision with the AEP utility pole occurred at 817 Home

Road in Corpus Christi, Texas at roughly 7:21 a. m. See Police Report at 2. Sometime

later, power was restored to the area by AEP. The distance between the location of the

Hernandez accident and the decedents' residence is over one-half mile away according

to Google Maps. The fire in the Plaintiffs' decedents' residence began some time

around 9:15 according to Plaintiffs' own description of the fire department records. This

means that there was a gap of almost two hours and more than one-half mile between


1 See a/so Griggs v. State Farm Lloyds, 181 F. 3d 694, 699 (5th Cir. 1999)(holding that generic allegations
do not meet "even the liberalized requirements that permit notice pleadings"); Jernigan v. Ashland Oil,
Inc., 989 F. 2d 812, 817(5 Cir. 1993)(explaining that conclusory allegations, wholly lacking in factual
support" are insufficient as a matter of law to create a cause of action against a non-cfiverse defendant);
Peters v. Metro. Life Ins. Co., 164 F. Supp. 2cf 830, 834 (S. D. Miss. 2001) (holding that the allegations
against non-diverse defendants "must be factual, and not conclusory, because conclusory allegations do
not state a claim"); Addison v. Allstate Ins. Co., 58 F.Supp.2d 729, 734 (S. D. Miss. 1999) ("to avoid
dismissal for failure to state a claim, a plaintiff must plead specific facts, not mere conclusory
allegations").
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the Hernandez accident and the fire. Moreover, according to Plaintiffs themselves, it

was the resumption of power to the decedents' home that allegedly caused the fire to

occur.     Unfortunately for Plaintiffs, neither the Hernandez accident nor the later

resumption of power service can ser/e as the basis of liability in Texas.

          First, the Texas Supreme Court has repeatedly ruled that there are certain

circumstances that are too attenuated, as a matter of law, for liability to attach. For

example, in IHS Cedars Treatment Center of DeSoto, Texas, Inc. v. Mason, 143 S. W. Sd

794 (Tex. 2004), the Court stated:

         On several occasions, we have addressed attenuation of the causal
         connection between conduct and liability. See, e. g., Union Pump, 898
         S. W. 2d 773; Lear Siegler, 819 S. W. 2d 470, Bell, 434 S. W. 2d 117. In Bell,
         three individuals were hit by a car while removing debris from an earlier
         car accident. 434 S.W.2d at 118. Two of the men were killed, and the third
         suffered serious injuries. Id. We held that the initial accident was not the
         proximate cause of the deaths and injuries because it only created the
         condition that attracted the three men to the scene and did not actively
         contribute to the injuries resulting from the second accident. Id. at
         122. Where the initial act of negligence was not the active and efficient
         cause of plaintiffs' injuries, but merely created the condition by which the
         second act of negligence could occur, the resulting harm is too attenuated
         from the defendants' conduct to constitute the cause in fact of plaintiffs'
         injuries. See Id.

         See IHS at 799. The Hernandez accident is too attenuated, in both time and

location, to support a liability claim against him for the fire occurring in the decedents'

home two hours later.        As in Bell, the initial Hernandez accident here did not "activity

contribute" to the fire in the house. See Bell v. Campbell, 434 S.W.2d 117, 120 (Tex.

1968). As in Bell, IHS and the other cases cited by the Texas Supreme Court, the

"forces generated by the first collision had come to rest, and no one was in any real or

apparent danger therefrom. " See Bell at 120. Thus, even if there was a negligent act

involved in the vehicle accident, it did nothing more than create a condition which
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(allegedly) ultimately allowed AEP to (allegedly) be negligent in restoring power, and for

a fire to later develop through an (allegedly) defective heater or bed. Under these

circumstances, Hernandez owed no duty to the Plaintiffs and is not a proper party to this

lawsuit.

       The sham nature of Plaintiffs' claims against Hernandez is even more obvious

because they have no claim against AEP as a matter of law either. See Entex, A Div. of

Noram Energy Corp. v. Gonzalez, 94 S. W. Sd 1, 6 (Tex. App. - Houston [14th Dist] 2002,

pet. denied); Leyva v. Southern Union Gas Co, Inc., 2004 WL 100521 *3 (Tex. App. - El

Paso 2004, no pet). It is well-established in Texas jurisprudence that a utility company

like AEP has no duty to inspect a customer's wiring, appliances, or the like, which the

utility did not install and does not own or control, for defects before supplying electricity

or gas to the customer. See id; see also Douglas v. Smith, 578 F. 2d 1169, 1172 (5th

Circuit 1978)(applying identical Georgia law). Thus, even /THernandez could otherwise

be found negligent for the original accident, his negligence would have been (even

according to Plaintiffs) cut off by the (alleged) superseding actions of AEP, who also

cannot be responsible as a matter of law. In other words, the Hernandez accident only

created a condition by which another condition could be created, which eventually

allegedly allowed another condition to occur (i. e., a fire to start). There is simply no

duty owed by the forum defendant here.

           In determining whether diversity jurisdiction exists, this Court must disregard

the citizenship of fraudulently/improperly joined parties. B., Inc. v. Miller Brewing

Co., 663 F. 2d 545, 549 (5th Cir. 1981); Oliva v. Chrysler Corp., 978 F. Supp. 685, 689

(S. D. Tex. 1997). Plaintiff has improperly joined Hernandez for the sole purpose of

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attempting to destroy diversity jurisdiction. Plaintiff has no factual basis for pursuing a

claim against Hernandez and can show no good faith ability to pursue claims against

him. Removal is therefore proper because there is complete diversity between the

current, proper, parties to the suit. 28 U. S. C. §1332(a); Johnson v. Columbia Props.

Anchorage, L. P., 437 F. 3d 894, 899-900 (9th dr. 2006).


    B.         AMOUNT IN CONTROVERSY

         Until its amendment in 2013, Rule 47 of the Texas Rules of Civil Procedure

prohibited a plaintiff from pleading for unliquidated damages in a specific amount except

in response to a special exception. See, e. g., Capitol Brick, Inc. v. Fleming Mfg. Co.,

722 S. W. 2d 399, 401 (Tex. 1986); see a/so Mumfrey v. CVS Pharm., Inc., 719 F. 3d

392, 398 (5th dr. 2013). Now, as amended, Rule 47 instructs a plaintiff to plead that

any monetary relief sought is within certain ranges, such as, for example, "monetary

relief over $100, 000 but not more than $200, 000.... " See Tex. R. Civ. P. 47(c)(4); see

a/so Mumfrey, 719 F. 3d at 398 n. 9 (discussing the amendment of Rule 47 in the context

of removal). Plaintiff's amended state court petition does not comply with Rule 47(c) as

it contains no allegations concerning the amount in controversy.

         Despite this, if it is "facially apparent" that the complaint at the time of

removal seeks more than $75, 000, removal is proper.         See Menendez v. Wal-Mart

Stores, Inc., 364 Fed. Appx. 62, 67 (5th Cir. 2010). Just as in Menendez, the three

plaintiffs here have each pled for the survival claims of the decedents (including claims

that they died of bum injuries, not just smoke inhalation) as well as their own wrongful

death damages (pain and suffering, mental anguish, loss of physical capacity, loss of

consortium and reasonable medical and burial expenses). Plaintiffs also seek punitive
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damages and pre- and post-judgment interest on their damages. In addressing similar

wrongful death and survival claims in Menendez, the Fifth Circuit concluded that it was

"facially apparent" that just the wrongful death claims exceeded the jurisdictional

amount without even considering the survival claims. See Menedez at 4. Therefore, it

is clear that the claims here are above the $75, 000 jurisdictional requirement and the

jurisdictionat amount in controversy is satisfied.

         VI.    CONSENT TO REMOVAL

         L&P states and represents that it has conferred with counsel for Defendants

Lasko, and AEP and each party has formally and expressly authorized L&P to represent

to the Court that they consent to this removal. An express written consent from L&P

and AEP is either attached to this notice or will be filed within the time allowed by the

rules.    Hernandez has, for some unknown but quite suspicious reason, refused to

answer all requests for contact from counsel for L&P since the filing of his pro-se

answer. Therefore, it is unknown whether or not he consents to removal, even though

the consent of an improperly joined defendant is not required.

         V.     CONCLUSION

         All conditions for removal have been satisfied. Defendant L&P attaches copies of

the following as exhibitsto this notice:

         A. Plaintiffs Amended Petition;

         B. Nueces County Docket Sheetfor the State Court matter;
         C. Executed Process on L&P;

         D. Written Consent to Removal of Defendants Lasko and AEP;

         E. Index of matters being filed;

         F. Certificate of Interested Parties;
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       G. List Of All Counsel of Record;

       H. Defendant's Jury Demand;

       I. Defendant's Notice (To State Court) of Removal.

       J. Police Report relating to the Hernandez accident

       A filing fee of $400.00 has been tendered to the clerk of the United States District

Court for the Southern District of Texas. Defendant L&P will promptly give written notice of

the filing of this Notice of Removal to Plaintiff and will also file a copy of the Notice of

Removal with the Clerk of County Court at Law Number 4 in Nueces County, Texas.



                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Leggett & Platt respectfully

requests that this action, now pending against it in the County Court at Law #4 of

Nueces County, Texas, be removed to this Honorable Court for trial and determination

of all issues.   Defendant also prays for such other and further relief, both at law and in

equity, to which it may show itself to be justly entitled.

                                            Respectfully submitted,


                                            /S/P. ClarkAsov
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of February 2018, the foregoing was filed with
the Clerk of Court using the CM/ECF system, and was served on counsel via facsimile:

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